                    Case 2:09-cr-00094-MCE Document 104 Filed 10/19/10 Page 1 of 2
                                 OFFICE OF THE FEDERAL DEFENDER
                                       EASTERN DISTRICT OF CALIFORNIA
                                            801 I STREET, 3rd FLOOR
                                        SACRAMENTO, CALIFORNIA 95814
Daniel J. Broderick                          (916) 498-5700 Fax: (916) 498-5710                      Linda C. Harter
Acting Federal Defender                                                                     Chief Assistant Defender



                                             MEMORANDUM

    DATE:                 October 14, 2010

    TO:                   Honorable Morrison C. England, Jr.
                          United States District Judge

    FROM:                 Jeffrey Staniels
                          Assistant Federal Defender
                          for Lauren Cusick, Attorney for Jose Salvador Sanchez-Palomino,
                          No. 2:09-cr-0094 MCE

    SUBJECT:              Request for order to the U.S. Marshal to pay for transportation and
                          subsistence expenses of a witness located in Portland Oregon



            Permission to issue subpoenas pursuant to Federal Rule of Criminal Procedure
    17(b) for the attendance of defense witness at the on-going evidentiary hearing in the
    above case has previously been granted (On August 6, 2010). One affected witness
    lives in Portland and is scheduled to appear on October 18, 2010.

        This memorandum also requests authority for the U.S. Marshal to arrange for
    transportation of the witness via Greyhound bus on Sunday, October 17, 2010, for
    subsistence while he is in Sacramento, and for his return trip to Portland at the
    conclusion of his appearance, presumably on Monday or Tuesday depending on bus
    schedules.

    B.        Legal Authority.

          Federal Rule of Criminal Procedure 17(b), requires that advance authority be
    requested under for subpoenas for indigent defendants. The rule permits this request to
    be made ex parte. The presence of the witnesses sought in this case are necessary for
    an adequate presentation of the defense.

            Where permission has been granted to produce witnesses under the provisions
    of federal rule of criminal procedure 17, the Rule provides that costs and witness fees
    will be paid in the same manner as those paid for witnesses the government
    subpoenas. Federal Rule of Civil Procedure 45(b)(1) and 28 U.S.C. §§ 1821, and
    1825(a) set forth provisions concerning the payment of such expenses. Those
    provisions provide, in pertinent part, that these expenses will “be paid” by the U.S.
    Marshal for the district, on the certificate of the Federal Defender. 18 U.S.C. § 1825(c)
    also provides that fees need not be tendered at the time of service of the subpoenas if
    fees are to be paid by the U.S. Marshal.
           Case 2:09-cr-00094-MCE Document 104 Filed 10/19/10 Page 2 of 2


                                        ORDER


      Permission to issue the requested subpoenas having previously been granted,
the U.S. Marshal is hereby directed to make provision for travel and subsistence of Mr.
Dagoberto Bautista-Lopez according to law.

      IT IS SO ORDERED.

 Dated: October 18, 2010


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                                             MORRISON C. ENGLAND, JR.
                                             UNITED STATES DISTRICT JUDGE
